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                                                                 USDC SDNY
UNITED STATES DISTRICT COURT                                     DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                    ELECTRONICALLY FILED
In re Application of                                             DOC #: _________________
FIRST MONOLITH INC.,                                             DATE FILED: 2/1/2021


                                                                   20 Misc. 735 (AT)
For an Order Pursuant to 28 U.S.C. § 1782 to
Conduct Discovery for Use in Foreign                                    ORDER
Proceedings

ANALISA TORRES, District Judge:

        On December 9, 2020, Applicant, First Monolith Inc, submitted an ex parte petition for

an order pursuant to 28 U.S.C. § 1782(a) to obtain discovery for use in a contemplated civil

proceeding in the Singapore High Courts (the “Petition”). ECF No. 1. Applicant seeks

permission to serve subpoenas on: Citibank, N.A.; The Bank of New York Mellon; Société

Générale, New York; HSBC Bank USA, N.A.; BNP Paribas USA; JPMorgan Chase Bank, N.A.;

Barclays Bank PLC; Deutsche Bank Trust Co. Americas; Bank of Nova Scotia; UBS AG; Bank

of America, N.A.; Standard Chartered Bank US; Commerzbank AG US; and The Clearing

House Payments Company, LLC (together, “Respondents”). Applicant also seeks permission to

proceed ex parte and a waiver of service of the Petition and this Order on other interested parties.

For the following reasons, the Petition is GRANTED.

                                          DISCUSSION

   I.      Legal Standard

        “A district court has authority to grant a § 1782 application where: (1) the person from

whom discovery is sought resides (or is found) in the district of the district court to which the

application is made, (2) the discovery is for use in a foreign proceeding before a foreign or

international tribunal, and (3) the application is made by a foreign or international tribunal or any

interested person.” Mees v. Buiter, 793 F.3d 291, 297 (2d Cir. 2015) (internal quotations and
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alterations omitted). Courts routinely grant such petitions ex parte. Gushlak v. Gushlak, 486

Fed. App’x 215, 217 (2d Cir. 2012) (“[I]t is neither uncommon nor improper for district courts to

grant applications made pursuant to § 1782 ex parte.”).

         In determining whether to grant a § 1782(a) petition, the Court may also consider “(1)

whether the person from whom discovery is sought is a participant in the foreign proceeding, in

which case the need for § 1782(a) aid generally is not as apparent; (2) the nature of the foreign

tribunal, the character of the proceedings underway abroad, and the receptivity of the foreign . . .

court or agency abroad to U.S. federal-court judicial assistance; (3) whether the § 1782(a)

request conceals an attempt to circumvent foreign proof-gathering restrictions; and (4) whether

the request is unduly intrusive or burdensome.” In re Catalyst Managerial Servs., DMCC, 680

F. App’x 37, 38–39 (2d Cir. 2017) (quoting Intel Corp. v. Advanced Micro Devices, Inc., 542

U.S. 241, 264–65 (2004)) (internal quotation marks omitted).

   II.      Analysis

            A. Ex Parte Proceeding

         Courts routinely grant similar petitions ex parte. Accordingly, Applicant’s request to

proceed without serving the Petition on Respondents is GRANTED. Gushlak, 486 Fed. App’x at

217.

            B. The Petition

         Applicant has met all three statutory requirements. First, Applicant avers that all

Respondents reside in this district. Vandenabeele Decl. ¶¶ 9–24, ECF No. 4; Kholodenko Decl.

¶ 31, ECF No. 2. Second, Applicant has established that it intends to use the discovery in a

“reasonabl[y] contemplate[ed]” judicial proceeding in the Singapore High Courts. Tang Decl. ¶¶

2, 15–18, ECF No. 3; Kholodenko Decl. ¶ 26; In re Hornbeam Corp., 722 F. App’x 7, 9–10 (2d



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Cir. 2018). Under the plain text of § 1782, a foreign proceeding includes “a proceeding in a

foreign or international tribunal.” 28 U.S.C. § 1782(a); Mees, 793 F.3d at 299 (“[A]pplicant may

seek discovery of any materials that can be made use of in the foreign proceeding to increase

[its] chances of success.”); Certain Funds, Accounts &/or Inv. Vehicles v. KPMG, L.L.P., 798

F.3d 113, 116 (2d Cir. 2015) (“It is not necessary for the adjudicative proceeding to be pending

at the time the evidence is sought, but only that the evidence is eventually to be used in such a

proceeding” (internal alterations omitted)). Third, Applicant is an interested party in the foreign

proceeding because it will be a party in the contemplated proceeding. Tang Decl. ¶ 15;

Kholodenko Decl. ¶ 26.

       Each of the discretionary factors also weigh in favor of granting the subpoena. First,

Applicant claims it has no reason to believe that Respondents will be participants in the

contemplated proceeding. Kholodenko Decl. ¶ 32. Second, it appears that the Singapore High

Courts would likely be receptive to the requests and that the evidence sought would presumably

be admissible. Tang Decl. ¶ 19; Kholodenko Decl. ¶ 33. Third, there is no evidence that

Applicant is attempting to circumvent any proof-gathering restrictions imposed by Singapore law

or otherwise seeking the discovery in bad faith. Finally, the subpoenas Applicant proposes are

not unduly intrusive or burdensome. See ECF No. 1-2 at 4–6; Vandenabeele Decl. ¶¶ 25–26.

Accordingly, the Petition is GRANTED.

           C. Waiver of Service

       Applicant requests a waiver of service of the Petition and this Order on the potential

defendant to the contemplated action and certain individuals and entities associated with the

potential defendant, because notice could provide the potential defendant with opportunity to

conceal or destroy evidence. Kholodenko Decl. ¶¶ 28, 35–38. Although Federal Rule of Civil



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Procedure 45 requires service of third-party subpoenas on parties to the underlying litigation, it is

within the Court’s authority to “prescribe otherwise.” 28 U.S.C. § 1782(a). Here, the chance

that the potential defendants will tamper with evidence upon notice of the Petition justifies an

exception to Rule 45’s notice requirement. See In re Hornbeam Corp., No. 14 Misc. 424, 2015

WL 13647606, at *5 n.14 (S.D.N.Y. Sept. 17, 2015), aff’d, 722 F. App’x 7 (2d Cir. 2018) (“Of

course, where countervailing interests support a party’s need to take discovery in secret, a district

court can always . . . order, pursuant to 28 U.S.C. § 1782(a), that discovery not be taken in

accordance with the Federal Rules” (emphasis in original)). Accordingly, Applicant’s request is

GRANTED.

                                         CONCLUSION

       For the reasons stated above, the Petition is GRANTED. Every thirty days, Applicant

shall file a status letter with the Court describing the status of its subpoenas and whether

discovery is sufficiently complete to permit service on the potential defendant and certain

individuals and entities associated with the potential defendant.

       The Clerk of Court is directed to terminate the motion at ECF No. 1.

       SO ORDERED.

Dated: February 1, 2021
       New York, New York




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